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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                                  EASTERN DIVISION


LuAnne Janssen, as Personal Representative of           Case No.: 3:19-cv-00079
the Estate of Warren S. Lindvold,

                                 Plaintiff,

       v.

City of Valley City,
Christopher Olson,                                    Answer of Mercy Hospital of Valley
Wade Hannig,                                           City d/b/a CHI Mercy Health and
Barnes County,                                             Demand for Trial by Jury
Barnes County Sheriff Randy McClaflin,
Jenna Jochim,
Richard Chase,
Bruce Potts,
Jesse Burchill,
Barnes County Ambulance, Inc.,
National Medical Resources, Inc.,
Mercy Hospital of Valley City d/b/a
CHI Mercy Health,

                                 Defendants.



       Defendant Mercy Hospital of Valley City d/b/a CHI Mercy Health, for its Answer to

Plaintiff’s Complaint, states:

       1.      Denies each and every allegation in Plaintiff’s Complaint, except as otherwise

admitted or qualified in this Answer.

       2.      Is without knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 3 and 4 of Plaintiff’s Complaint.

       3.      The allegations set forth in paragraphs 5-19, 21-22, 25-225, 228-306, 310-325 of

Plaintiff’s Complaint are not directed to this answering Defendant, and this answering Defendant

is without knowledge or information sufficient to form a belief as to the truth of Plaintiff’s
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allegations regarding the events before and after Warren Lindvold was brought to Mercy Hospital

of Valley City d/b/a CHI Mercy Health on either occasion. Therefore a responsive pleading is not

necessary.

       4.      Admits Mercy Hospital of Valley City, operating under the trade name of CHI

Mercy Health, is a North Dakota nonprofit corporation providing medical services that include an

emergency department located in Valley City, North Dakota (hereinafter “Mercy Hospital”).

       5.      Admits Sheri Lutjens, RN, was employed by Mercy Hospital at all times relevant

to the care and treatment of Mr. Lindvold and was acting within the scope of her employment with

Mercy Hospital.

       6.      Denies Mark Klabo, PA, was an employee and/or agent of Mercy Hospital.

       7.      Admits Mercy Hospital contracted with National Medical Resources, Inc., to

provide physicians, physician assistants, and nurse practitioners to perform emergency medical

services for its emergency department, but denies the allegations contained in paragraph 467 to the

extent inconsistent with the plain language of the Contract.

       8.      Admits Mr. Lindvold was seen twice in the emergency department of Mercy

Hospital. Regarding the specific allegations contained in Plaintiff’s Complaint about care and

treatment provided to Mr. Lindvold by Mark Klabo, PA, and Sheri Lutjens, RN, when he was first

brought to the emergency room, the actual care and treatment is documented in Mr. Lindvold’s

emergency department medical records. Mr. Lindvold was examined and determined stable for

discharge by Mark Klabo, PA. To the extent any allegations in Plaintiff’s Complaint are inaccurate

or inconsistent with the actual records, they are denied.

       9.      Admits Mr. Lindvold was transferred from Mercy Hospital to Sanford Health in

Fargo after he was brought to the emergency department the second time. Mercy Hospital is




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without sufficient information or knowledge to form a belief as to the truth of Plaintiff’s allegations

regarding the events after Mr. Lindvold was transferred.

       10.     Denies Mercy Hospital or any employee or agent of Mercy Hospital was in any

way negligent in their care and treatment of Mr. Lindvold. The medical care and treatment

provided to Mr. Lindvold was appropriate and met the standard of care.

       11.     Denies any alleged action or inaction on the part of Mercy Hospital or any

employee or agent of Mercy Hospital was the direct or proximate cause of Mr. Lindvold’s injuries,

death, and damages.

       12.     The injuries, death, and damages alleged in Plaintiff’s Complaint were the result of

natural or other causes and/or acts or omissions of Mr. Lindvold or other persons for whom Mercy

Hospital is not responsible and over whom it had no control.

       13.     To the extent any EMTALA obligation arose, deny Mercy Hospital or any

employee or agent of Mercy Hospital failed to provide an appropriate medical screening

examination of Mr. Lindvold or otherwise failed to comply with EMTALA. Further deny any

alleged action or inaction on the part of Mercy Hospital or any employee or agent of Mercy

Hospital was the direct or proximate cause of Mr. Lindvold’s injuries, death, and damages, based

on any purported EMTALA violation.

       14.     Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

       15.     Pending completion of discovery, allege and assert all other applicable defenses

available under Rules 8, 9, and 12 of the Federal Rules of Civil Procedure.

       16.     Counsel for Mercy Hospital has complied with the requirements of N.D.C.C. § 32-

42-03 relating to alternative dispute resolution.

       17.     Mercy Hospital requests a jury trial as to all issues in accordance with the Federal

Rules of Civil Procedure by the maximum number of jurors allowed by law.


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       WHEREFORE, Defendant Mercy Hospital of Valley City d/b/a CHI Mercy Health

requests the Court dismiss Plaintiff’s Complaint with prejudice and award costs incurred in the

defense of this action.

       Dated this 8th day of July, 2019.

                                                   MEAGHER & GEER, P.L.L.P.
                                                   Attorney for Defendant Mercy Hospital d/b/a
                                                   CHI Mercy Health
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                                                   BY:    /s/ Tracy Vigness Kolb
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                                          Certificate of Service

       I hereby certify that the foregoing was filed with the Clerk of Court through ECF and that

ECF will send a Notice of Electronic Filing (NEF) to the following:

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          Jenna Jochim, Richard Chase, Bruce Potts, Jesse Burchill,
          and Barnes County Ambulance, Inc.




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             Attorneys for National Medical Resources, Inc.


       Dated this 8th day of July, 2019.


                                                              /s/ Tracy Vigness Kolb
                                                              Tracy Vigness Kolb, ND ID# 05338
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